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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

ROTHSCHILD BROADCAST                           §
DISTRIBUTION SYSTEMS, LLC                      §
                                               §
      Plaintiff,                               §            Case No: 1:17-cv-01629-RGA
                                               §
vs.                                            §            PATENT CASE
                                               §
SIMPLISAFE, INC.                               §
                                               §
      Defendant.                               §
___________________________________           §

                      NOTICE OF DISMISSAL WITH PREJUDICE

        Plaintiff Rothschild Broadcast Distribution Systems, LLC hereby files this voluntary

 Notice of Dismissal With Prejudice pursuant to Federal Rule of Civil Procedure

 41(a)(1)(A)(i). According to Rule 41(a)(1)(A)(i), an action may be dismissed by the

 plaintiff without order of court by filing a notice of dismissal at any time before service by

 the adverse party of an answer. Accordingly, Rothschild Broadcast Distribution Systems,

 LLC voluntarily dismisses this action against Defendant with prejudice pursuant to Rule

 41(a)(1)(A)(i) with each party to bear its own fees and costs.
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December 12, 2017                    STAMOULIS & WEINBLATT LLC

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